Case 9:11-cr-00033-MAC-ZJH          Document 513        Filed 05/22/17      Page 1 of 7 PageID #:
                                           2134



                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
                                                  § CASE NUMBER 9:11-CR-00033-RC
 v.                                               §
                                                  §
                                                  §
 GARY JUSTIN KELLEY                               §
                                                  §

          REPORT AND RECOMMENDATION ON PETITION FOR WARRANT
                    FOR OFFENDER UNDER SUPERVISION

        Pending is a “Petition for Warrant or Summons for Offender Under Supervision” filed

 February 16, 2017, alleging that the Defendant, Gary Justin Kelley, violated his conditions of

 supervised release. This matter is referred to the undersigned United States magistrate judge for

 review, hearing, and submission of a report with recommended findings of fact and conclusions

 of law. See United States v. Rodriguez, 23 F.3d 919, 920 n.1 (5th Cir. 1994); see also 18 U.S.C.

 § 3401(i) (2000); Local Rules for the Assignment of Duties to United States Magistrate Judges.

                            I. The Original Conviction and Sentence

        Kelley was sentenced on June 13, 2012, before Chief U.S. District Judge Ron Clark, of

 the Eastern District of Texas, after pleading guilty to the offense of Possession of Listed

 Chemicals for Use in Manufacturing Methamphetamine, a Class C felony. This offense carried a

 statutory maximum imprisonment term of 20 years. The guideline imprisonment range, based on

 a total offense level of 23 and a criminal history category of II, was 51 to 63 months. Kelley was

 subsequently sentenced to 51 months’ imprisonment followed by a 3 year term of supervised

 release subject to the standard conditions of release, plus special conditions to include drug

 testing and treatment and a $100 special assessment.


                                                -1-
Case 9:11-cr-00033-MAC-ZJH          Document 513        Filed 05/22/17      Page 2 of 7 PageID #:
                                           2135



                                     II. The Period of Supervision

        On January 5, 2015, Gary Justin Kelley completed his period of imprisonment and began

 service of the supervision term.

                                        III. The Petition

        United States Probation filed the Petition for Warrant for Offender Under Supervision

 raising five allegations. The petition alleges that Gary Justin Kelley violated the following

 conditions of release:

        Allegation 1. The Defendant shall not commit another federal, state, or local
        crime.

        Allegation 2. The Defendant shall not possess a controlled substance.

        Allegation 3. That the defendant shall report to the probation officer as directed
        by the court and submit a truthful and complete written report within the first five
        days of each month.

        Allegation 4. The defendant shall notify the probation officer ten days prior to any
        change of residence or employment.

        Allegation 5. The Defendant shall not associate with any persons engaged in
        criminal activity, and shall not associate with any person convicted of a felony
        unless granted permission to do so by the probation officer.

                                         IV. Proceedings

        On May 18, 2017, the undersigned convened a hearing pursuant to Rule 32.1 of the

 Federal Rules of Criminal Procedure to hear evidence and arguments on whether the Defendant

 violated conditions of supervised release, and the appropriate course of action for any such

 violations.

        At the revocation hearing, counsel for the Government and the Defendant announced an

 agreement as to a recommended disposition regarding the revocation. The Defendant agreed to

 plead “true” to the third allegation that claimed he failed to report to the probation officer as



                                                -2-
Case 9:11-cr-00033-MAC-ZJH               Document 513           Filed 05/22/17        Page 3 of 7 PageID #:
                                                2136



 directed by the Court or probation officer, and failed to submit a truthful and complete written

 report within the first five days of each month. In return, the parties agreed that he should serve

 a term of imprisonment of 8 months’ imprisonment, with no supervised release to follow.

                                         V. Principles of Analysis

         According to Title 18 U.S.C. § 3583(e)(3), the court may revoke a term of supervised

 release and require the defendant to serve in prison all or part of the term of supervised release

 authorized by statute for the offense that resulted in such term of supervised release without

 credit for time previously served on post-release supervision, if the court, pursuant to the Federal

 Rules of Criminal Procedure applicable to revocation of probation or supervised release, finds by

 a preponderance of the evidence that the defendant violated a condition of supervised release,

 except that a defendant whose term is revoked under this paragraph may not be required to serve

 on any such revocation more than five years in prison if the offense that resulted in the term of

 supervised release is a Class A felony, more than three years if such offense is a Class B felony,

 more than two years in prison if such offense is a Class C or D felony, or more than one year in

 any other case. The original offense of conviction was a Class C felony, therefore, the maximum

 imprisonment sentence is 2 years.

         According to U.S.S.G. § 7B1.1(a)1, if the court finds by a preponderance of the evidence

 that the Defendant violated conditions of supervision by failing to report to the probation officer

 as directed by the Court or probation officer, and shall submit a truthful and complete written

 report within the first five days of each month, the Defendant will be guilty of committing a

 Grade C violation. U.S.S.G. § 7B1.3(a)(2) indicates that upon a finding of a Grade C violation,



 1. All of the policy statements in Chapter 7 that govern sentences imposed upon revocation of supervised release
 are non-binding. See U.S.S.G. Ch. 7 Pt. A; United States v. Price, 519 F. App’x 560, 562 (11th Cir. 2013).


                                                       -3-
Case 9:11-cr-00033-MAC-ZJH           Document 513        Filed 05/22/17        Page 4 of 7 PageID #:
                                            2137



 the court may (A) revoke probation or supervised release; or (B) extend the term of probation or

 supervised release and/or modify the conditions of supervision.

        U.S.S.G. § 7B1.4(a) provides that in the case of revocation of supervised release based on

 a Grade C violation and a criminal history category of II, the policy statement imprisonment

 range is 4 to 10 months.

        According to U.S.S.G. § 7B1.3(c)(1), where the minimum term of imprisonment

 determined under U.S.S.G. § 7B1.4 is at least one month but not more than six months, the

 minimum term may be satisfied by (A) a sentence of imprisonment; or (B) a sentence of

 imprisonment that includes a term of supervised release with a condition that substitutes

 community confinement or home detention according to the schedule in U.S.S.G. § 5C1.1(e), for

 any portion of the minimum term.

        U.S.S.G. § 7B1.1(b) indicates where there is more than one violation of the conditions of

 supervision, or the violation includes conduct that constitutes more than one offense, the grade of

 the violation is determined by the violation having the most serious grade.

        According to U.S.S.G. § 7B1.3(f) any term of imprisonment imposed upon revocation of

 probation or supervised release shall be ordered to be served consecutively to any sentence of

 imprisonment that the defendant is serving, whether or not the sentence of imprisonment being

 served resulted from the conduct that is the basis of the revocation of probation or supervised

 release.

        According to 18 U.S.C. § 3583(h), when a term of supervised release is revoked and the

 defendant is required to serve a term of imprisonment, the court may include a requirement that

 the defendant be placed on a term of supervised release after imprisonment. The length of such a

 term of supervised release shall not exceed the term of supervised release authorized by statute



                                                 -4-
Case 9:11-cr-00033-MAC-ZJH           Document 513         Filed 05/22/17     Page 5 of 7 PageID #:
                                            2138



 for the offense that resulted in the original term of supervised release, less any term of

 imprisonment that was imposed upon revocation of supervised release. The authorized term of

 supervised release for this offense is not more than 3 years.

        U.S.S.G. § 7B1.3(g)(2) indicates where supervised release is revoked and the term of

 imprisonment imposed is less than the maximum term of imprisonment imposable upon

 revocation, the court may include a requirement that the defendant be placed on a term of

 supervised release upon release from imprisonment. The length of such a term of supervised

 release shall not exceed the term of supervised release authorized by statute for the offense that

 resulted in the original term of supervised release, less any term of imprisonment that was

 imposed upon revocation of supervised release.

        In determining the Defendant’s sentence, the court shall consider:

        1. The nature and circumstance of the offense and the history and characteristics of the
           defendant; see 18 U.S.C. § 3553(a)(1);

        2. The need for the sentence imposed: to afford adequate deterrence to criminal conduct;
           to protect the public from further crimes of the defendant; and to provide the
           Defendant with needed educational or vocational training, medical care, other
           corrective treatment in the most effective manner; see 18 U.S.C. §§ 3553 (a)(2)(B)-
           (D);

        3. Applicable guidelines and policy statements issued by the Sentencing Commission,
           for the appropriate application of the provisions when modifying or revoking
           supervised release pursuant to 28 U.S.C. § 994(a)(3), that are in effect on the date the
           defendant is sentenced; see 18 U.S.C. 3553(a)(4); see also 28 U.S.C. § 924(A)(3);

        4. Any pertinent policy statement issued by the Sentencing Commission, pursuant to 28
           U.S.C. § 994(a)(2), that is in effect on the date the defendant is sentenced; see 18
           U.S.C. § 3553(a)(5); and

        5. The need to avoid unwarranted sentence disparities among defendants with similar
           records who have been found guilty of similar conduct; see 18 U.S.C. § 3553(a)(6).

        6. The need to provide restitution to any victims of the offense.

 18 U.S.C. §§ 3583(e) and 3553(a).

                                                 -5-
Case 9:11-cr-00033-MAC-ZJH           Document 513         Filed 05/22/17      Page 6 of 7 PageID #:
                                            2139



                                          VI. Application

        The Defendant pled “true” to the petition’s allegation that he violated a standard

 condition of release that he failed to report to the probation officer as directed by the Court or

 probation officer, and failed to submit a truthful and complete written report within the first five

 days of each month. Based upon the Defendant’s plea of “true” to this allegation of the Petition

 for Warrant or Summons for Offender Under Supervision and U.S.S.G. § 7B1.1(a), the

 undersigned finds that the Defendant violated a condition of supervised release.

        The undersigned has carefully considered each of the factors listed in 18 U.S.C. §

 3583(e). The Defendant’s violation is a Grade C violation, and the criminal history category is

 II. The policy statement range in the Guidelines Manual is 4 to 10 months. The Defendant did

 not comply with the conditions of supervision and has demonstrated an unwillingness to adhere

 to conditions of supervision.

        Consequently, incarceration appropriately addresses the Defendant’s violation. The

 sentencing objectives of punishment, deterrence and rehabilitation along with the

 aforementioned statutory sentencing factors will best be served by a prison sentence of 8 months,

 with no term of supervised release to follow.

                                      VII. Recommendations

        The court should find that the Defendant violated the third allegation in the petition that

 he violated a standard condition of release by failing to report to the probation officer as directed

 by the Court or probation officer, and failed to submit a truthful and complete written report

 within the first five days of each month. The petition should be granted and the Defendant’s

 supervised release should be revoked pursuant to 18 U.S.C. § 3583. The Defendant should be

 sentenced to a term of 8 months’ imprisonment, with no term of supervised release to follow.



                                                  -6-
Case 9:11-cr-00033-MAC-ZJH           Document 513         Filed 05/22/17      Page 7 of 7 PageID #:
                                            2140



 His term of imprisonment should be served at the Federal Correctional Institution in Beaumont,

 Texas, if the Bureau of Prisons can accommodate such request.

                                          VIII. Objections
        Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file

 objections to this report and recommendation. Objections to this report must: (1) be in writing,

 (2) specifically identify those findings or recommendations to which the party objects, and (3) be

 served and filed within fourteen (14) days after being served with a copy of this report, and (4)

 no more than eight (8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); FED. R. CIV. P.

 72(b)(2); Local Rule CV-72(c). A party who objects to this report is entitled to a de novo

 determination by the United States District Judge of those proposed findings and

 recommendations to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1)

 (2009); FED R. CIV. P. 72(b)(3).

        A party’s failure to file specific, written objections to the proposed findings of fact and

 conclusions of law contained in this report, within fourteen (14) days of being served with a copy

 of this report, bars that party from: (1) entitlement to de novo review by the United States District

 Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275,

 276–77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such

 findings of fact and conclusions of law accepted by the United States District Judge, see

 Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).



         SIGNED this 22nd day of May, 2017.




                                                        _________________________
                                                        Zack Hawthorn
                                                        United States Magistrate Judge

                                                  -7-
